 

CaSe 18-13032-EPK DOC l

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Chapter __

   

l:l Cmck ifthis is an
amended filing

Case nunber m my

 
 

Offlcia| Form 201

Voluntary Fetition for Non-lndividuals Filing for Bankruptcy ome
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1. Debtor’a name

 

z. All other names debtor used

 

 

 

In the last 8 years

lndude any assumed names.
trade namee. and doing business
as nm

 

 

3. Debtor'e federal Employer
Identllicetlon Nurnber (EIN)

4. Debtor'e address

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Pllnclpal place of bua|ness

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of business

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s. Debtor'e webelte (URL)

Locatlon 01 pllnc|pa| asaets, ll dlflerem h'om
principal place of bua|necc

 

Number Stleel

 

 

Ci!y Shh ZlP Code

 

 

 

s. Type of debtor

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|:l Corporation (mcluding Limited Liabi|ily Company (LLC) and Limned Liabilily Partnership (LLP))

l:l Partnership (excluding LLP')
n Other. Specify:

 

Volunlary Petition for Non-lndividua|s Fi|ing for Bankruptcy

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Noneoflhcabove

 

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§ mmdmcewlthUSC §1126(|1)

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Debtor qm¢l£ f diaz l'M ‘/' (MQ& Zlm"l£ll/ H§Z/ZU€£{ T Caee numberi:lbwi

11. Why ls the case h|ed |n this Clleck all that apply:
disticR

 

 

Debtor has had its domicile, principal place of business. or principal assets in th`s district for 180 days
immedlately preceding the date otthis petition orfor a longer part otsuctl 180 days than in any other
district

n A bankruptcy case conceming debtor's afli|iate, general partner. or partnership is pending in this district

12.Doeethedebtorownorhave mo

p°““d°n °f any mal cl Yes. Answer below for each property that needs immediate attention. Atlach additional sheets if needed.
property or personal property ~

nat "°°d; imm°dl¢t° Why does the property need lmmed|ate attention? (chedl as that appiy.)

a litton

n lt poses or is alleged to pose a threat of imminent and identitiable hazard to public malth or safely.
What is the hazard?

 

n lt needs to be physically secured or protected from the weather.

n lt includes perishable goods or assets that could qlickly deteriorate or lose value without
attention (tor example, livestock, seasonal goods, meet, dairy, produce, or secuities-relawd

 

 

 

 

 

 

 

 

 

 

 

assets or other options).
L'.l other
Where ls the property?
Number Strset
City State ZlP Code
ls the property lneured?
n No
cl Yes. insurance agency
Contact name
Phone
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13. Debtor'e eetlmadon of Check one:
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Al'ter any administrative expenses are paid. no funds vlilll be available for distribution to unsecured creditors
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’* amde """'b°' °' L'.l 50-99 L'.l 5,001-10,000 El 50,001-100.000
°'°d Cl 1oo199 L'.l 10,001-25,000 El More man 100.000
El 200-999
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“‘ m'"“°d m El sso.oo1-s1oo,ooo L'.l slo,ooo.ool-sso million Cl s1,ooo.ooo,oo1-s1o billion
El s1oo.oo1~ssoo,ooo El $50.000.001-s1oo million El s1o,ooo,ooo.oo1-sso billion
El ssoo,ool-si million El sloo,ooo,oo1-ssoo million Cl Mole man 350 billion

 

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Ei s1oo,oo1-ssoo,ooo Ei sso,ooo,ool-sloo million El sio.ooo,ooo.ooi-sso billion
El ssoo.ootst million El stoo,ooo,oot-ssoo million Ei lvlore than 350 billion

-:llequeet for Rellef, Declaretlon, end Slgmtures

 

WARN|NG - Bankruptcy fraud is a serious crlme. Maklng a false statement in connection with a bankruptcy case can result il'l lines up to
$500.000 or inprisonment for up to 20 years. or both. 18 U.S.C.§§152.1341.1519.and 3571.

1"- D°¢l*"lu°“ ind ¢|9"*¢\"‘ °' n 1'he debtor requests relief in accordance wmr the chapter ortitle 11. united states code. speeilieo in this
authorized representative of

 

 

 

 

 

 

 

 

 

 

 

debtor_ petm°"'

l l have been authorized to tile this petition on behalf of the debtor.

s l have examined the information in this petition and have a reasonable belief that the information is true and
correct

nuly that the foregoing is true and con'ect
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g y x Date

signatureoratwmeyror debtor MM /DD /YYYY
Plimd name
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Contect phone Emai address
Bar number Stab

 

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